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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JARED CARTY, et al                      :
                                        :               CIVIL ACTION
                                        :
                                        :
            v.                          :
                                        :
                                        :
STEEM MONSTERS CORP., et al             :               NO.: 20-cv-05585

                                    ORDER

            AND NOW, this 21ST       day of SEPTEMBER 2021, in accordance with

the court’s procedure for random reassignment of cases, it is hereby,

            ORDERED that the above-captioned case is reassigned from the

calendar of the Honorable Henry S. Perkin, United States Magistrate Judge, to the

calendar of the Honorable Elizabeth T. Hey, United States Magistrate Judge.


                                            FOR THE COURT:


                                            JUAN R. SÁNCHEZ
                                            Chief Judge

                                            ATTEST:


                                            ________________________
                                            KATE BARKMAN
                                            Clerk of Court
